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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
                 v.                            ) Case No. 4:18 CR 220 ERW DDN
                                               )
PHILIP D. DEAN,                                )
                                               )
                        Defendant.             )

             GOVERNMENT'S MOTION FOR PRETRIAL DETERMINATION
                OF PRETRIAL ISSUES RELATING TO SUPPRESSION

         Plaintiff, the United States of America, pursuant to the Court’s March 26, 2018 Order,

respectfully moves for a pretrial determination of pretrial issues relating to the pretrial

suppression of evidence on constitutional or other grounds.

         Specifically, the Government moves for a pretrial determination regarding two search

warrants that were executed during the investigation of this case. The two warrants can be found

at:

      (1) In re the search of a brick house with green shutters and a brown awning located at 511

         E. Booneslick Rd, Warrenton, MO 63383, Case No. 4:17 MJ 5187 NAB, and;

      (2) In re the search of a Facebook account regarding Dr. Dean, Case No. 4:17 MJ 5139

         NAB.

         Further, the Government moves for a pretrial determination of statements that the

defendant made during the execution of the warrant at the Booneslick address on August 9,

2017, as set forth in a Report of Interview from the U.S. Department of Health and Human

Services, Office of Inspector General. This Report of Interview was previously provided to

defendant’s counsel on March 26, 2017.
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       Wherefore, the Government respectfully moves for these pretrial determinations, in

accordance with the Court’s March 26, 2018 Order.

                                             Respectfully submitted,

                                             JEFFREY B. JENSEN
                                             United States Attorney

                                             __/s/ Andrew J. Lay            ______
                                             Andrew J. Lay
                                             Assistant United States Attorney
                                             111 South 10th Street, Room 20.333
                                             St. Louis, Missouri 63102
                                             (314) 539-2200



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2018, the foregoing was filed electronically with the
Clerk of the Court to be served by either operation of the Court’s electronic filing system or
electronic mail and first class mail, postage prepaid, upon the following:

       Al White, counsel for defendant

                                             /s/ AUSA Andrew J. Lay




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